          Case 2:17-cv-00229-RK Document 16 Filed 04/03/18 Page 1 of 4



                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

Irene Kendrell, Personal Representative of :
The Estate of Anthony Kendrell             :
                                           :
                      Plaintiff,           :
                                           :
       v.                                  :         NO.: 17-cv-0229
                                           :
Jim Mattis, Secretary of the U.S.          :
Department of Defense                      :
                                           :
                      Defendant.           :


                                            ORDER

       AND NOW this _________ day of ___________________, 2017, upon consideration of

Counsel for Plaintiff’s Motion for Leave to Withdraw as Counsel, and any response thereto, it is

hereby ORDERED and DECREED that Counsel’s Motion is GRANTED, and the Clerk shall

mark counsel’s representation TERMINATED.

       This action is STAYED thirty (30) days from the date of entry of this Order within which

Plaintiff may enter her substitute counsel’s appearance or her own, pro se.

       AND IT IS SO ORDERED.




                                                     ________________________________
                                                                                   ,J.
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                          UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

Irene Kendrell, Personal Representative of :
The Estate of Anthony Kendrell             :
                                           :
                      Plaintiff,           :
                                           :
       vi.                                 :          NO.: 17-cv-0229
                                           :
Jim Mattis, Secretary of the U.S.          :
Department of Defense                      :
                                           :
                      Defendant.           :


COUNSEL FOR PLAINTIFF’S MOTION FOR LEAVE TO WITHDRAW AS COUNSEL

        Pending before this Honorable Court is the above-captioned action in civil rights, inter

alia.

        However, “…[p]rofessional considerations require termination of the representation…”

RPC explanatory comment [3] (“the lawyer’s [said] statement…ordinarily should be accepted

as sufficient.”); 1.16 (a)(3), (b)(1), (4) & (7).

        If this Honorable Court does not accept the above statement as “sufficient,” counsel

respectfully requests an off-the-record, ex parte conference for further determination so that

counsel can abide RPC 1.6 via 3.3.

        Under separate cover, Plaintiff has been advised (subject to attorney-client privilege) of

the undersigned’s instant Motion for Leave to Withdraw and of her obligation to immediately

seek substitute counsel or enter her appearance, pro se, in the event this Motion is granted.

        This Motion has also been served upon Plaintiff.
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       WHEREFORE, Counsel for Plaintiff requests this Honorable Court’s leave to withdraw

as counsel herein consistent with the attached proposed Order.




                                                    WEISBERG LAW


                                                    /s/ Matthew B. Weisberg
                                                    Matthew B. Weisberg, Esquire
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                                                    Attorney for Plaintiff
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                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

Irene Kendrell, Personal Representative of :
The Estate of Anthony Kendrell             :
                                           :
                      Plaintiff,           :
                                           :
       v.                                  :        NO.: 17-cv-0229
                                           :
Jim Mattis, Secretary of the U.S.          :
Department of Defense                      :
                                           :
                      Defendant.           :


                                  CERTIFICATE OF SERVICE

       I, Matthew B. Weisberg, Esquire, hereby certify that on this 3rd day of April, 2018, a true

and correct copy of the foregoing Counsel for Plaintiff’s Motion for Leave to Withdraw as

Counsel was served via ECF and regular mail, respectively, upon the following parties:

Margaret L. Hutchinson, Esq.
Scott W. Reid, Esquire
United States Attorney’s Office
615 Chestnut St., Suite 1250
Philadelphia, PA 19106

Ms. Irene Kendrell
22 Cypress Rd.
Burlington, NJ 08016

                                                    WEISBERG LAW


                                                    /s/ Matthew B. Weisberg
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                                                    Attorney for Plaintiff
